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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 JPMORGAN CHASE BANK, N.A.,                        )
                                                   )
                       Plaintiff,                  )
                                                   )
                v.                                 )
                                                   )
 CHARLIE JAVICE, OLIVIER AMAR,                     )
 CHARLIE JAVICE, in her capacity as Trustee        )
 of CHARLIE JAVICE 2021 IRREVOCABLE                )      C.A. No. 22-01621-JDW
 TRUST #1, CHARLIE JAVICE, in her capacity         )
 as Trustee of CHARLIE JAVICE 2021                 )
 IRREVOCABLE TRUST #2, and CHARLIE                 )
 JAVICE in her capacity as Trustee of CHARLIE      )
 JAVICE 2021 IRREVOCABLE TRUST #3,                 )
                                                   )
                          Defendants.              )

              DECLARATION OF JONATHAN A. CHOA IN SUPPORT OF
            PLAINTIFF’S BRIEF IN RESPONSE TO DEFENDANTS’ MOTION
               TO LIFT THE PSLRA’S AUTOMATIC DISCOVERY STAY


I, Jonathan A. Choa, hereby declare as follows:

       1.      I am a partner at Potter Anderson & Corroon LLP, counsel for Plaintiff JPMorgan

Chase Bank, N.A.

       2.      I have personal knowledge of the facts set forth in this declaration and can testify

competently to those facts.

       3.      I submit this declaration in support of Plaintiff’s Brief in Response to Defendants’

Motion to Lift the PSLRA’s Automatic Discovery Stay.

       4.      To the best of my knowledge and belief, true and correct copies of the following

documents are attached hereto as follows:
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     Exhibit                                     Description


        A         May 21-29, 2023 Email Correspondence Between JP Kernisan and W.
                  Regan


        B         April 3, 2021 Talking Points


        C         Frank Pitch Book


        D         July 22, 2021 Javice Email


        E         January 11, 2021 Slack Exchange


        F         January 19, 2021 Slack Exchange


        G         January 11, 2021 Slack Exchange


        H         January 5, 2021 Slack Exchange


        I         February 24-25, 2021 Slack Exchange


        J         Due Diligence Meeting Notes



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on June 15, 2023, in Wilmington, Delaware.



                                                     /s/ Jonathan A. Choa
                                                     Jonathan A. Choa




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